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                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NORTH DAKOTA

______________________________________________________________________________

In re:                                                                                     Chapter 7
                                                                                  Case No. 16-30672
Vortex Drain Tiling, LLC,                                                    Honorable Shon Hastings

            Debtor.
______________________________________________________________________________

           MOTION OF FORREST C. ALLRED, TRUSTEE FOR LEAVE
       TO CONDUCT RULE 2004 EXAMINATIONS OF KELLER PAVING &
   LANDSCAPING, INC AND BLUE EARTH COUNTY DRAINAGE AUTHORITY
______________________________________________________________________________


                Trustee Forrest C Allred (the “Trustee”) by his attorneys, for his Motion for Leave to

Conduct Rule 2004 Examinations of Keller Paving & Landscaping, Inc. and Blue Earth County

Drainage Authority and respectfully states as follows:

                1.     Vortex Drain Tiling, LLC (the “Debtor”) filed a petition commencing this chapter

7 case on December 28, 2016, and the Trustee was appointed as a successor trustee on December

12, 2017.

                2.     The Debtor’s case is now pending in this Court.

                3.     This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§157 and

1334, and Fed. R. Bank. P. 5005. This motion arises under Bankruptcy Rule 2004 and is a core

proceeding.

                4.     The Trustee seeks information relevant to potential claims possessed by the

bankruptcy estate and moves this Court for authorization to conduct Bankruptcy Rule 2004

examinations the following persons and entities who have information regarding the Debtor’s

financial affairs:




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            a.    Keller Paving & Landscaping, Inc.:

               Debtor provided services to Keller Paving & Landscaping, Inc. The Trustee
needs to determine if claims and defenses exist with respect to Debtor’s claims.

            b.    Blue Earth County Drainage Authority:

               Debtor provided services to Blue Earth County Drainage Authority. The Trustee
needs to determine if claims and defenses exist with respect to Debtor’s claims.

            5.    The purpose of the requested examination is for discovery and the identification

of areas of inquiry is intended to be as broad as allowed under the Federal Rules of Bankruptcy

Procedure. The identification of areas of inquiry or specific documents is not intended to limit

the scope of the inquiry.

            WHEREFORE, the Trustee respectfully moves this Court to enter an order granting the

Trustee leave to examine Keller Paving & Landscaping, Inc. and Blue Earth County Drainage

Authority and to issue subpoenas as provided under bankruptcy Rule 9016 to compel testimony

and request the production of documents within the scope of Bankruptcy Rule 2004.




                                               LEONARD, O’BRIEN
                                               SPENCER, GALE & SAYRE, LTD.

Dated: April 18, 2018                          By e/ Matthew R. Burton
                                                 Matthew R. Burton, #210018
                                                 mburton@losgs.com
                                                 100 South Fifth Street, Suite 2500
                                                 Minneapolis, Minnesota 55402-1234
                                                 (612) 332-1030
                                               Attorneys for Forrest C. Allred, Trustee




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                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF NORTH DAKOTA
______________________________________________________________________________

In re:                                                                               Chapter 7
                                                                            Case No. 16-30672
 Vortex Drain Tiling, LLC,                                           Honorable Shon Hastings

            Debtor.
______________________________________________________________________________

                    UNSWORN CERTIFICATE OF SERVICE
______________________________________________________________________________

I, Cheryle R. Williams, declare under penalty of perjury that on April 18, 2018 she caused the
following document to be served via the CM/ECF system to those parties requesting electronic
notification:

Motion of Forrest C. Allred, Trustee, for Leave to Conduct Rule 2004 Examinations

I further certify that the above documents were served by U.S. Mail postage paid to:

Keller Paving & Landscaping, Inc.                Vortex Drain Tiling, LLC
Attn: Officer or Managing Agent                  Attn: Officer or Managing Agent
1820 Highway 2 Bypass East                       741 Ashley Lane NE
Minot, ND 58701                                  Thompson, ND 58278

Blue Earth County Drainage Authority             Brett Meyers
Attn: Officer or Managing Agent                  Crary Real Estate
204 South 5th Street                             Attn: Officer of Managing Agent
P.O. Box 8608                                    4551 S Washington St
Mankato, MN 56002                                Suite G
                                                 Grandforks, ND 58201



Dated: April 18, 2018                       /e/ Cheryle R Williams
                                            Cheryle R. Williams
                                            Leonard, O’Brien, Spencer, Gale & Sayre, Ltd.
                                            100 S. Fifth Street, Suite 2500
                                            Minneapolis, MN 55402




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                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF NORTH DAKOTA
______________________________________________________________________________

In re:                                                                                    Chapter 7
                                                                                 Case No. 16-30672
Vortex Drain Tiling, LLC                                                    Honorable Shon Hastings

            Debtor.
______________________________________________________________________________

         ORDER GRANTING MOTION FOR RULE 2004 EXAMINATIONS
______________________________________________________________________________

                The Bankruptcy Trustee filed a motion to conduct examinations pursuant to Rule 2004 of

the Federal Rules of Bankruptcy Procedure. Upon review of the Motion, the Court finds cause

for granting it. Therefore, IT IS ORDERED that the motion [Doc. ___] is GRANTED. Movant

is authorized to examine Keller Paving & Landscaping, Inc., Blue Earth County Drainage

Authority, and to issue subpoenas as provided under Rule 9016 to compel testimony and

documents within the scope of Rule 2004. It is also ORDERED that the examinations shall be

conducted at a time and location convenient to all parties.

                Dated this ____ day of April, 2018.




                                                          Shon Hastings, Judge
                                                          United States Bankruptcy Court




{00699149.1 }
